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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF DELAWARE

  In re:                                  Chapter 11

  Boy Scouts of America and               Case No. 20-10343 (LLS)
  Delaware BSA, LLC,
                                          (Jointly Administered)
               Debtors.

  National Union Fire Insurance
  Co. of Pittsburgh, PA, et al.,          Case No. 22-cv-01237-RGA
              Appellants.
  v.                                      (Jointly Consolidated)1

  Boy Scouts of America and
  Delaware BSA, LLC,

              Appellees.


     EMERGENCY RENEWED MOTION OF DUMAS & VAUGHN
        CLAIMANTS FOR STAY OF BANKRUPTCY PLAN
              AND MOTION TO STAY APPEAL


                             INTRODUCTION

       Dumas & Vaughn Claimants’ (“D&V Claimants”) are 69 sexual

 abuse survivors who oppose confirmation of Boy Scouts of America’s


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         Case numbers 22-cv-01237, 22-cv-01238, 22-cv-01239, 22-cv-01240, 22-
 cv-01241, 22-cv-01242, 22-cv-01243, 22-cv-01244, 22-cv-01245, 22-cv-01246,
 22-cv-01247, 22-cv-01249, 22-cv-01250, 22-cv-01251, 22-cv-01252, 22-cv-01258,
 and 22-cv-01263 have been jointly consolidated under 22-cv-01237. The D & V
 Claimants’ appeal is docketed at 22-cv-01249.

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 (“BSA”) Chapter 11 bankruptcy plan. On April 19, 2023, the Third

 Circuit denied D&V Claimants’ emergency Motion for Stay. Since then,

 circumstances have changed in two critical respects. First, the

 Supreme Court granted writ of certiorari in the Purdue bankruptcy case

 on August 10, 2023. Harrington, U.S. Trustee v. Purdue Pharma, L.P.,

 S.Ct. Case No. 23-124 (2023). The Supreme Court will review the exact

 issue presented by D&V Claimants: “Whether the Bankruptcy Code

 authorizes a court to approve, as part of a plan of reorganization under

 Chapter 11 of the Bankruptcy Code, a release that extinguishes claims

 held by nondebtors against nondebtor third parties, without the

 claimants’ consent.” Id. The Supreme Court asked for briefing in time

 for oral argument this December. Id. The Supreme Court’s ruling in

 that case is crucial to the Third Circuit’s consideration of the issues in

 this appeal.

       Second, the potential that BSA and plan proponents will argue

 that equitable mootness precludes the Third Circuit’s review, which was

 previously a hypothetical possibility, is now a certainty given that the

 plan has gone effective. The Settlement Trustee is accepting “expedited

 claims” for processing (due on October 3) and just opened the “portal”



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 for regular claims on August 16. Dumas Decl., Exhibit 2, pp. 1-3,

 emails from Settlement Trustee’s office. The deadline for filing

 “Independent Review Option” claims is October 19, but discovery

 documents supposed to be available to abuse claimants on or before,

 and as a condition to, the April 19 effective date are not yet available.

 The registration process for access to the documents only opened on

 August 16 and as of this filing, access has not been granted to counsel

 for D&V Claimants. Dumas Decl. at ¶ 6 and Ex. 2, p. 4-5.

       On August 16, 2023, D&V Claimants filed this motion with the

 Third Circuit. On August 18, 2023, the Third Circuit denied the motion

 without prejudice and directed D&V Claimants to file it first with this

 Court. Dumas Decl. at Exhibit 7, Order. D&V Claimants request

 emergency consideration because of the October 3 deadline for

 expedited claims. If this Court denies the stay, the Third Circuit will

 need time to consider it before October 3.

       A stay of the plan until after the Supreme Court rules in Purdue

 will prevent the needless filing and processing of claims in the event the

 plan is overturned, allow claimants time to access discovery documents,

 and also guarantee that no claims distributions are made. A stay of



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 this appeal will allow the Third Circuit to consider the third-party

 releases with the benefit of the Supreme Court’s ruling in Purdue.

                                  MOTION

       D&V Claimants renew their motion to stay the BSA’s

 reorganization plan pending ruling from the Supreme Court in Purdue

 on the exact issue raised by D&V Claimants. D&V Claimants also

 move the Court to stay all appeals in this case until the Supreme Court

 rules in Purdue.

       D&V Claimants request emergency consideration of this motion,

 because “expedited claims” are due on October 3 and the portal is now

 open for regular claims. Appellee briefs are now due October 10.

 Judicial efficiency calls for holding off on further appeals briefing until

 the Supreme Court rules in Purdue.

       This Motion is supported by FRAP Rule 8(a); the points and

 authorities discussed below; the arguments and authorities in D&V

 Claimants’ original Motion for Stay (D.I. 154), incorporated by reference

 as if set forth in full; arguments and authorities in D&V Claimants’

 Third Circuit Opening Brief, attached as Exhibit 8 to Dumas Decl.,




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 incorporated by reference as if set forth in full; and the supporting

 Dumas Declaration, filed herewith.

                      POINTS AND AUTHORITIES

       1.    This case concerns the reorganization in bankruptcy of BSA,

 filed to resolve thousands of sexual abuse claims made and anticipated

 by BSA. In approving BSA’s chapter 11 reorganization plan, the

 bankruptcy and this court validated sweeping nonconsensual releases of

 nondebtors’ direct claims against nondebtor third parties. In Re Boy

 Scouts of America, 642 B.R. 504 (2022) (“BSA”) (bankruptcy court

 opinion); In Re BSA, 650 B.R. 87 (2023) (district court opinion). These

 releases and related channeling injunctions permanently “release and

 discharge” abuse claimants’ direct claims against more than 250 Local

 Councils and over 300,000 Chartered.2 Dumas Decl., Exhibit 3, p. 1-2,

 excerpts from plan Art. X.J.3 (“...all holders of Abuse Claims shall ...

 forever discharge and release [released parties]”; emphasis added).

       2.    Third party Local Councils and Chartered Organizations are

 not bankruptcy debtors in this case. In exchange for discharge and


       2 Omni docket www.cases.omniagentsolutions.com/?clientId=3552
 (a 4,808-page list of released parties, including Local Councils and
 Chartered Organizations).

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 release of all abuse claims, Chartered Organizations (except for the

 Methodist Church) paid not one cent of their own money.3 Chartered

 Organizations – including the Baptist Church, Church of Jesus Christ

 of the Latter-Day Saints, Elks, and Kiwanis – no doubt have

 substantial assets of their own. Dumas Decl., Exhibit 4, p. 1, excerpt

 from Disclosure Statement (list of Most Common Chartered

 Organizations). Local Councils, as a group, paid roughly 20% of their

 net assets, far less than they would have to pay if they filed for their

 own bankruptcies. Id., p. 2 (Local Councils have an aggregate $3.3

 billion in total net assets, making their $665 million payment to the

 Settlement Trust only 20 percent.) They had to relinquish rights under

 insurance policies that BSA paid for, but they did so regardless of their

 liability for direct (non-derivative) claims of sexual abuse survivors or

 their own assets, including their own insurance.

       3.    In contrast, the Sackler family in Purdue agreed to pay

 approximately $6 billion to that settlement fund. Despite this

 enormous contribution, the Supreme Court agreed to consider the


       3The United Methodist Entities are the only “Contributing
 Charter Organizations” and are paying $30 million to the Settlement
 Trust. BSA, 642 B.R. at 539.

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 legality of third-party releases. See, Purdue, S.Ct. Case No. 23-124

 (August 7, 2023, Reply in Support of [Trustee’s] Application for a Stay,

 p. 25, discussing Sackler contribution).

       4.    The releases concerning abuse claims in the BSA plan

 extinguish direct claims by abuse survivors. They apply to the 8,073

 abuse claimants who voted against confirmation, as well as the 41% of

 abuse claimants who did not vote on the plan and, therefore, did not

 specifically consent to the releases. Dumas Decl., Exhibit 5, Final Vote

 Tabulation excerpts). The releases extinguish these claimants’ private

 property rights without providing an opportunity for the claimants to

 opt in or out of the releases, which raises due process concerns.

       5.    These third-party releases are not authorized by the

 bankruptcy code, are an abuse of the bankruptcy system, and raise

 serious constitutional questions by extinguishing without consent the

 property rights of nondebtors against entities (and individual

 representatives) who are not debtors in this bankruptcy. Allowing

 nondebtors that have not shown financial distress to avoid tort liability

 through discharge in another entity’s bankruptcy is not what Congress

 intended the Bankruptcy Code to accomplish. See, LTL Mgmt., LLC, 64



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 F.4th 84, 93, 111 (3d Cir. 2023) (holding that only debtors in financial

 distress are entitled to access the bankruptcy system).

       6.    Since the Third Circuit denied Appellants’ motions for stay

 on April 19, 2023, the BSA plan has gone effective as of that date. But

 the administrative mechanism to process abuse claims only just opened

 to expedited claims on August 4 and regular claims yesterday, on

 August 17. The deadline for expedited claims is October 3. Dumas

 Decl., Ex. 2 (email).

       7.    The plan imposes an October 19 (six-month) deadline for

 abuse claimants to submit claims to the “Independent Review Option”

 (“IRO”), even though the portal only now became available. Dumas

 Decl., Ex. 3, p. 3 (plan excerpts). Even worse, the plan promised

 discovery through a “Document Appendix” that was supposed to be

 available to claimants on or before the effective date and those

 documents are still not available. Dumas Decl., ¶6; Exhibit 6, ¶¶ 1-2,

 Document Appendix excerpts (BSA and third parties required to

 provide discovery documents “on or before the Effective Date” and “as a

 condition to the Effective Date”); Ex. 3, p. 4-5, plan excerpts from Art. V

 of the Trust Distribution Procedures (“The Settlement Trust shall afford



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 access for Direct Abuse Claimants to ... documents obtained by the

 Settlement Trust pursuant to the Document Appendix”). Claimants

 must pay a total of $20,000 to go through IRO and it is “like a trial.”

 www.scoutingsettlementtrust.com/s/faq. IRO claimants must pay their

 first $10,000 by the October 19 deadline. Id. Trials involve discovery,

 which is why IRO claimants were promised six months’ access to

 discovery documents to analyze their claims before they are due. IRO

 claims are now due in nine weeks and these claimants (including D&V

 Claimants) still have no access to discovery. Claimanst do not have the

 discovery needed to make that election and would be prejudiced if they

 either miss the opportunity because of the lack of discovery or pay

 $10,000 and learn from later discovery that they are unable to pursue

 an IRO claim. Even if they get access next week, that is not enough

 time to evaluate if a claim qualifies for the IRO. D&V Claimants are

 unfairly prejudiced by this substantial delayed discovery.

       8.    With October deadlines approaching, this is an opportune

 time stay the plan. Plan proponents have consistently argued that the

 nonconsensual third-party releases are a key component to this plan. If

 so, there should be certainty about the legality of such releases before



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 the plan is permitted to be fully implemented. The Supreme Court will

 supply that certainty, one way or the other, in the upcoming session. A

 stay would, at a minimum, avoid potentially wasteful additional work

 by the Settlement Trustee in the event the Third Circuit ultimately

 overturns the plan.

       9.    A stay of the plan would also diminish equitable mootness

 arguments of plan proponents. The Third Circuit should review the

 third-party release issues on the merits. While the Supreme Court has

 never endorsed the equitable mootness doctrine and D&V Claimants

 dispute its viability and applicability, a stay would prevent further

 implementation of the plan, allow required discovery, and avoid

 distribution to pay abuse claims. A stay could therefore prevent the

 validity of the third-party releases from evading appellate review.

       10.   In addition to staying the plan, D&V Claimants ask that this

 Court stay appeals in this case until the Supreme Court rules in Purdue

 on the legality of third-party releases. D&V claimants ask that this

 Court stay the appeals only if it stays the plan. A stay of the appeals

 without staying the plan would only strengthen equitable mootness

 arguments.



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    I.     Background

         11.   D&V Claimants are sexual abuse survivors who filed sexual

 abuse proofs of claim in BSA’s bankruptcy. They all voted against

 confirmation of the Plan. Their lawsuits have been stayed by BSA’s

 bankruptcy. Dumas Decl. at ¶ 3.

         12.   BSA’s plan goes far beyond reorganizing the rights of BSA

 and its creditors by releasing claims against Chartered Organizations,

 Local Councils and channeling those claims into the post-bankruptcy

 Settlement Trust. BSA, 642 B.R. at 586 (the “nonconsensual third-

 party releases” run “in favor of the Settling Insurance Companies, Local

 Councils, Chartered Organizations and their Representatives.”). In

 exchange, the released non-debtors will provide shockingly little to the

 abuse claimants forced to give up their direct claims. With the

 exception of the United Methodist Entities, none of over 300,000

 Chartered Organizations released will contribute any money at all. Id.

 at 539. Likewise, the aggregate contribution from Local Councils of

 only 20 percent of their net assets is unreasonable given their liability

 exposure and substantial assets.




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       13.   What these third parties give up is their rights in “shared

 insurance.” From 1976 on, BSA included Local Councils and Chartered

 Organizations as named or additional insureds on insurance policies

 paid for by BSA. BSA, 642 B.R. at 89-90. However, the third-party

 releases are so broad they include claims not involving BSA insurance

 policies but are direct claims covered by insurance policies third-party

 Chartered Organizations bought themselves, not naming BSA, but

 happened to be issued by Settling Insurers. 642 B.R. at 646-48

 (discussing Chartered Organizations giving up their own insurance if

 issued by Settling Insurers).

       14.   The released Chartered Organizations and Local Councils

 get the benefits of bankruptcy debtors without satisfying the obligations

 the Bankruptcy Code imposes, including the basic requirement of

 showing they are in financial distress. LTL Management, 64 F.4th 84.

 The plan allows these non-debtors to ignore the Code’s financial

 disclosure requirements; provide far less of their assets than debtors in

 a bankruptcy must; and releases individual representatives from

 nondischargeable claims for fraud or other willful and malicious

 conduct, including claims for punitive damages. The releases do real



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 harm to abuse claimants who cannot pursue direct claims against these

 non-debtors in the tort system but must release and channel their

 claims.

       15.   D&V Claimants objected to the plan because the bankruptcy

 court did not have jurisdiction to grant nonconsensual third-party

 releases and channeling injunctions to non-debtors; the releases and

 injunctions are not authorized by the Bankruptcy Code; and, even

 assuming they are authorized, they do not meet the standards of Third

 Circuit caselaw. Dumas Decl. at ¶ 4.

       16.   Appellants must ordinarily seek a stay pending appeal.

 Otherwise, if the “settlement proceeds are distributed before resolution

 of” the appeal, “that appeal is ‘all but assured’ to become moot.” In re

 Body Armor I, 927 F.3d 763, 770 (3d Cir. 2019) (quoting In re Revel AC,

 Inc., 802 F.3d 558, 567 (3d Cir. 2015)). Courts have dismissed appeals

 as equitably moot when the appellants failed to seek a stay. See, e.g.,

 In re Allied Nev. Gold Corp., 725 F. App’x 144, 148 (3d Cir. 2018)

 (appeal from confirmation order dismissed as “equitably moot” when

 appellants “did not timely seek or obtain a stay.”); In re Metromedia

 Fiber Network, Inc., 416 F.3d 136, 143-45 (2d Cir. 2005) (same).



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              17.   As discussed below, D&V Claimants have a “reasonable”

 chance of succeeding on appeal. S.S. Body Armor I., Inc. v. Carter

 Ledyard & Milburn LLP, 927 F.3d 763, 772 (3d Cir. 2019). Their appeal

 seeks answers to unsettled legal questions about third-party releases

 that, as the writ in Purdue makes clear, are of widespread public

 importance.

   I.           Joinder

              18.   D&V Claimants join in the Renewed Motion for Stay of the

 Lujan Claimants. D&V Claimants incorporate their arguments and

 supporting materials in their entirety as if set forth herein.

        II.     Argument

              19.   FRAP Rule 8(a) gives power to district courts to stay

 underlying rulings pending appeal. The Third Circuit discussed the

 applicable standard in S.S. Body Armor I, 927 F.3d at 771-72. In ruling

 on a motion to stay, courts assess four factors:

                    (1) whether the stay applicant has made a strong
                    showing that [it] is likely to succeed on the
                    merits; (2) whether the applicant will be
                    irreparably injured absent a stay; (3) whether
                    issuance of the stay will substantially injure the
                    other parties interested in the proceeding; and (4)
                    where the public interest lies.



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 Id. (citation omitted). “Before issuing a stay, it is ultimately necessary

 to balance the equities — to explore the relative harms to applicant and

 respondent, as well as the interests of the public at large.” Trump v.

 Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017) (internal

 notations omitted). The balance of equities favors granting a stay now.

       A.     D&V Claimants Have a Likelihood of Success on the

            Merits

       20.    D&V Claimants have filed their opening brief arguing the

 illegality of third-party releases for nondebtor Local Councils and

 Chartered Organizations. 23-1666, D.I. 61. Without repeating those

 arguments, D&V Claimants incorporate them by reference as if set

 forth in full.

       21.    Courts need not find that the appellant will definitely be

 successful. “Likelihood of success exists if there is ‘a reasonable chance,

 or probability, of winning.’” S.S. Body Armor I, 927 F.3d at 772 (quoting

 Singer Mgmt. Consultants, Inc. v. Milgram, 650 F.3d 223, 229 (3d Cir.

 2011) (en banc)). The appellant does not have to show that it is “more

 likely than not” to win the appeal, it is enough to show a “significantly

 better than negligible” chance of success. Id. (quoting In re Revel AC,



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 Inc., 802 F.3d 558, 569 and 571 (3d Cir. 2015)). Now that the Supreme

 Court agreed to hear the appeal in Purdue on the exact issue raised by

 D&V Claimants, the chance that D&V Claimants will succeed on the

 merits is better than when they first asked for a stay, and significantly

 better than negligible.

             • The Releases are Contrary to Third Circuit Caselaw

       22.   D&V Claimants are likely to succeed on the merits because

 the third-party releases in BSA’s plan are contrary to Third Circuit

 cases. Third Circuit caselaw persuasively suggests that such releases

 are prohibited. In In re Combustion Engineering, 391 F.3d 190 (3d Cir.

 2004), the Third Circuit refused to extend the scope of nondebtor

 releases in an asbestos case beyond the express limits of Code § 524(g).

 The Court held that the bankruptcy court’s equitable powers under §

 105(a) did not permit third-party releases broader than as specified in §

 524(g). Id. at 202.

       23.   The Third Circuit’s recent opinion in LTL Management also

 provides guidance, although the case was on appeal from denial of a

 motion to dismiss. That case, most broadly, asked, “who is entitled to

 use the bankruptcy system?” and imposed a good faith requirement that



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 looks to financial distress. The Third Circuit held that only debtors in

 financial distress are entitled to bankruptcy. Id. at 93, 111. Here,

 Local Councils and Chartered Organizations are not even debtors, and

 there was no showing that any of them are in financial distress. If lack

 of financial distress is grounds to dismiss a putative debtor’s own

 bankruptcy, then lack of financial distress should also preclude the

 release and discharge of nondebtors.

             • The Bankruptcy Court Did Not Have Jurisdiction to
               Grant These Third-Party Releases

       24.   The bankruptcy court did not have jurisdiction to issue these

 third-party releases and injunctions. Subject matter jurisdiction must

 exist before, and independent of, plan provisions seeking to involve

 nondebtors. Combustion, 391 F.3d at 225. The liability of one third-

 party nondebtor to another third-party nondebtor is not an issue that

 “arises under” or “arises in” a debtor’s bankruptcy and is not part of a

 core proceeding. “Related to” jurisdiction was the only possibility.

 “Related to” jurisdiction did not exist in this case because the only

 reasonable basis for such jurisdiction was shared assets and the only

 shared asset was the shared insurance described above. This shared

 insurance was not enough to give the bankruptcy court “related to”


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 jurisdiction over abuse claimants’ independent third-party claims

 against these nondebtor third parties because shared insurance is not

 enough in the Third Circuit to create “related to” jurisdiction. In re

 Continental Airlines, 203 F.3d 203, 217 (3d. Cir 2000) (“[E]ven

 assuming that the [shared insurance] proceeds are property of the

 estate, this by itself does not justify a permanent injunction of

 Plaintiff’s actions against the insured non-debtor ... as necessary for the

 reorganization.”); See also, Combustion, 391 F3d 190, 233 (3d Cir. 2005)

 (concluding it was “doubtful whether shared insurance would be

 sufficient grounds upon which to find related-to jurisdiction over

 independent claims against [non-debtors].”).

       25.   At a minimum, the bankruptcy court did not have “related

 to” jurisdiction over claims not covered by shared insurance. Despite

 this, the court included in the releases claims covered by a Chartered

 Organization’s own insurance policy – policies in which BSA had no

 interest – if a Settling Insurer issued the policy. The releases go too far

 in including such claims.

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             • The Bankruptcy Code Does Not Authorize Third-Party
               Releases Except in Narrow Circumstances in Asbestos
               Cases

       26.   More important to the likelihood of success is that the

 Bankruptcy Code does not authorize nonconsensual releases and

 injunctions of independent, direct claims against nondebtor third

 parties. This is the issue now before the Supreme Court in Purdue.

 This issue is not settled in the Third Circuit because the Third Circuit

 has never directly addressed the issue of statutory authority for third-

 party releases outside the context of asbestos litigation expressly

 covered by section 524(g). 11 U.S.C. § 524(g) (allowing narrow third-

 party releases of derivative claims in asbestos cases). 11 U.S.C. §

 524(e)only allows “discharge of a debt of the debtor.” This plan goes too

 far in releasing and discharging liability of nondebtors for their own

 debts.

       27.   Nothing in the Code authorizes such releases. Congressional

 silence is not authority. General provisions regarding a bankruptcy

 court’s equitable powers are not authority for these releases because the

 court’s equitable powers must be tethered to actual authority in the

 Code. Further, because the releases extinguish abuse claimants’ state



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 law claims, they give a legal remedy to the released nondebtors, not an

 equitable remedy. Therefore, they are outside any conceivable scope of

 § 105’s equitable powers. Recent U.S. Supreme Court cases, the

 Constitutional framework for the bankruptcy court system, and the

 Erie doctrine support the conclusion that there is no statutory authority

 for nondebtor releases.

        28. The general provisions in §§ 105(a), 1123(a)(5), and

  1123(b)(6), relied on by the bankruptcy court, do not create broad

  equitable powers that extend to granting nonconsensual third-party

  releases. Law v. Siegel, 571 U.S. 415, 421 (2014) (“whatever equitable

  powers remain in the bankruptcy courts must and can only be

  exercised within the confines of” the Code.); Combustion, 391 F.3d at

  202 (§ 105(a) does not give the bankruptcy court equitable power to

  enter other types of third-party injunctions not specifically authorized).

  The lower courts erred in using general provisions preserving

  bankruptcy courts’ residual equitable authority to exercise vast power

  over disputes between nondebtor third parties – power much greater

  than the powers the Code specifically gives bankruptcy courts.




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       29.   In recent years, the Supreme Court has clarified the narrow

 nature of bankruptcy courts’ equitable or inherent power, finding that

 bankruptcy courts may not rely on general grants of residual equitable

 authority to reach outcomes incompatible with the structure and

 purpose of the Code. In Law, the Court unanimously held that a

 bankruptcy court does not have “a general, equitable power” or

 “inherent power” under § 105(a) to make orders inconsistent with other

 Code provisions. 571 U.S. at 425 (“A bankruptcy court may not exercise

 its authority to ‘carry out’ the provisions of the Code” by taking an

 action inconsistent with its other provisions.) The Court reversed the

 bankruptcy court’s order denying a homestead exemption. The Court

 explained that there is “no authority for bankruptcy courts to deny an

 exemption on a ground not specified in the Code” because the Code was

 intended to be a comprehensive statement of the applicable rights and

 procedures. Id. at 416.

       30.   More recently, in Czyzewski v. Jevic Holdings Corp., 137 S.

 Ct. 973, 984 (2017), the Court held that a bankruptcy court cannot

 override the protections afforded by the Bankruptcy Code in a “rare”

 case, even to carry out bankruptcy objectives. That bankruptcy court



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 did not follow priority rules, putting unsecured creditors before

 nonconsenting judgment creditors. As here, plan proponents argued the

 bankruptcy court had inherent authority to deviate from the rules

 because the Code was “silent” on the subject and there was “sufficient

 reason” in that rare instance. The Supreme Court disagreed and held

 the “importance of the priority system leads us to expect more than

 simply statutory silence if, and when, Congress were to intend a major

 departure.” 137 S. Ct. at 984.

       31.   The fact that the bankruptcy court used judge-made criteria

 to decide third-party releases were justified in this case further shows

 that the Bankruptcy Code itself does not provide for such releases. In

 applying these judge-made criteria for third-party releases, the

 bankruptcy and district courts violated the Erie doctrine’s prohibition

 against making federal common law. Erie v. Tompkins, 304 U.S. 64, 78

 (1938) (“there is no general federal common law”).

             • These Releases Do Not Meet the Standards Used by the
               Bankruptcy and District Courts

       32.   Even assuming the bankruptcy court had jurisdiction and

 statutory authority, and federal common law were allowed, the third-

 party releases and injunctions in this case did not meet the standards


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 used by the bankruptcy and district courts. (See, 23-1666, D.I. 61, D&V

 Claimants’ Opening Brief at 63-78.)

       B.    D&V Claimants Will be Irreparably Harmed in the
             Absence of a Stay

       33.   The interests of D&V Claimants, other abuse claimants that

 did not consent to the releases, and the public will be irrevocably

 harmed if the Third Circuit does not review the third-party release

 issues on the merits. Nonconsensual third-party releases enable

 wealthy and powerful organizations to obtain legal immunity from tort

 victims without having to subject themselves to the procedures and

 scrutiny required from debtors under the Bankruptcy Code. These

 releases deprive tort victims of their day in court without their consent.

 They erode public trust in the bankruptcy system. Such releases

 deserve Third Circuit scrutiny.

       34.   Because Document Appendix documents were “a condition

 to” the effective date, the plan should not have “gone effective” (and

 arguably did not) before these documents were available to abuse

 claimants. This Court could nullify the effective date and stay the plan

 on this basis alone.




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       35.   The risk that the Third Circuit might dismiss the appeals on

 the grounds of equitable mootness is enough to find irreparable harm.

 In re MTE Holdings, LLC, 2021 WL 4203339, at *4 (D. Del. Sept. 15,

 2021); In re MD Helicopters, Inc., 641 B.R. 96, 109 (D. Del. 2022)

 (irreparable harm exists where “there is a substantial risk of mootness,

 in addition to potential economic harm”); In re Los Angeles Dodgers

 LLC, 465 B.R. 18, 36 (D. Del. 2011) (“[W]here the denial of a stay

 pending appeal risks mooting any appeal of significant claims of error,

 the irreparable harm requirement is satisfied.”). Here, D&V Claimants

 risk mootness and potential economic harm. Dismissal on equitable

 mootness grounds would be a particularly harsh result if the Supreme

 Court rules in Purdue that nonconsensual releases of direct third-party

 claims are illegal under the Bankruptcy Code or the Constitution.

 Further, dismissal on equitable mootness grounds would deprive this

 Circuit of the opportunity to address third-party nondebtor releases

 after the Supreme Court rules on their legality.

       36.   In the absence of a stay, the plan will continue to move

 forward. Specific to the D&V Claimants and their economic hardship,

 they will be in the difficult, if not impossible, position of pursuing this



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 appeal while at the same time having to submit their claims to the

 Settlement Trustee, so far without promised discovery. Participating in

 the claims process will strengthen Appellees’ argument that D&V

 Claimants’ appeal is moot. Any finding of equitable mootness would be

 irreparably harmful to D&V Claimants.

       C.    On Balance, a Stay Will Not Harm the Other Parties

       37.   Courts compare this third factor with the second factor and

 look at how the equities balance. S.S. Body Armor I., 927 F.3d at 772.

 A lack of stay before an adequate discovery period and before the

 Settlement Trustee starts disbursing funds will cause D&V Claimants

 irreparable harm. D&V Claimants – abuse victims themselves – are

 sensitive to the fact that a stay may delay full implementation of the

 plan and payment to abuse survivors. But that delay is of BSA’s and

 other plan proponents’ own making. If plan proponents had not insisted

 on nonconsensual third-party releases that violate this circuit’s caselaw,

 Supreme Court authority, and the Code, this appeal would not be

 necessary and there would be no delay. The plan only (purportedly)

 went effective on April 19, 2023. The administrative process for

 handling abuse claims is not fully up and running and required



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 discovery is not available. Any additional delay until the Supreme

 Court rules in Purdue will not cause substantial harm and will make

 this appeal more efficient.

       D.    The Public Interest Weighs Heavily in Favor of a Stay

       38.   This fourth factor weighs very much in favor of a stay. In

 granting a writ of review in Purdue, the Supreme Court recognized the

 public’s great concern in nonconsensual third-party releases and the

 need to resolve the circuit split on this issue. Third Circuit litigants

 deserve the Third Circuit’s fulsome analysis of such releases, an

 analysis that incorporates the Supreme Court’s ultimate ruling in

 Purdue.

       39.   The Third Circuit has never squarely addressed the issues of

 third-party releases raised in these appeals. While the Third Circuit

 has reviewed non-debtor releases in non-asbestos cases, it did so

 without addressing the statutory authority or the jurisdictional basis

 for such releases. These are issues that merit the Third Circuit’s full

 and robust review after the Supreme Court rules on this exact issue.

 The need for this review is of particular concern to the public given how

 many mass tort type bankruptcy cases are filed in the Third Circuit.



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 The Court should have the opportunity to conduct this full review after

 the Supreme Court decides Purdue, without being sidetracked by

 equitable mootness arguments that will be strengthened in the absence

 of a stay.

       E.     No Bond Required

       40.    As D&V Claimants argued before, this is not a case that

 requires an appellate bond. Bonds are typically required on appeal to

 secure the payment of a judgment. D&V Claimants are not judgment

 debtors. They owe no money to BSA. There is no judgement to secure.

 Because the plan does not require D&V Claimants to pay money to

 Debtors or anyone else, and BSA will not suffer material harm from a

 stay, there is nothing for a bond to secure and there is “no need for a

 bond.” L.A. Dodgers, 465 B.R. at 38. D&V Claimants also ask that the

 Court not require a bond for costs. D&V Claimants are all individual

 people and sexual abuse survivors. Imposing any additional costs on

 them, even the cost of a bond, would be a hardship for them.

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                               CONCLUSION

       41.   D&V Claimants ask that this Court grant their motion and

 issue a stay of the plan and appeals in this case until after the Supreme

 Court rules in Purdue.



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                    CERTIFICATE OF COMPLIANCE

 The foregoing motion complies with the type-volume limitation of
 Federal Rule of Bankruptcy Procedure 8013(f). A proportionally spaced
 typeface was used, as follows:

       Name of typeface: Century
       Point size: 14
       Line spacing: Double

 The total number of words in the motion, excluding the items set forth
 in Federal Rule of Bankruptcy Procedure 8015(g), is 4,998.

 Counsel for D&V Claimants sent reasonable notice of their intent to file
 this motion, as required by FRAP Rule 8(C), by email to all parties.




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                       CERTIFICATE OF SERVICE

       I, Charles J. Brown, III, hereby certify that on August 18, 2023, I

 caused a copy of the forgoing EMERGENCY RENEWED MOTION OF

 DUMAS & VAUGHN CLAIMANTS FOR STAY OF BANKRUPTCY

 PLAN AND MOTION TO STAY APPEAL, to be served on all

 registered users of the Court’s Case Management/Electronic Case File

 (“CM/ECF”) in this case via CM/ECF.


 DATED: August 18, 2023              GELLERT SCALI BUSENKELL &
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